
The People of the State of New York, Respondent,
againstLeroy Owens, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Abena Darkeh, J.), rendered January 21, 2016, convicting him, upon his plea of guilty, of criminal possession of a controlled substance in the seventh degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Abena Darkeh, J.), rendered January 21, 2016, affirmed.
The accusatory instrument was not jurisdictionally defective. It charged all the elements of criminal possession of a controlled substance in the seventh degree (see Penal Law § 220.03), and set forth sufficient factual allegations to show the basis for the arresting officer's conclusion that the substance at issue was a controlled substance. The instrument recited that police recovered a "pipe containing crack/cocaine residue from defendant's left hand," and that the officer believed the substance to be crack/cocaine "based upon [his] professional training as a police officer in the identification of drugs, [his] prior experience as a police officer making drug arrests, and [his] observation of the item, which is characteristic of crack/cocaine" (see People v Smalls, 26 NY3d 1064 [2015]; People v Kalin, 12 NY3d 225 [2009]; People v Pearson, 78 AD3d 445 [2010], lv denied 16 NY3d 799 [2011]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur 
Decision Date: January 08, 2018










